Case 1:15-cv-07433-LAP Document 1219-5 Filed 07/15/21 Page 1 of 6




               COMPOSITE
                  EXHIBIT 3
            (File Under Seal)
         Case 1:15-cv-07433-LAP Document 1219-5 Filed 07/15/21 Page 2 of 6


From:                Paul Cassell
To:                  Ty Gee; Bradley Edwards (brad@pathtojustice.com); Meredith Schultz; Sigrid McCawley
Cc:                  Laura Menninger; Jeff Pagliuca; Ann Lundberg; Nicole Simmons
Subject:             RE: Giuffre v Maxwell: Conferral re Defendant"s Second Set of Discovery Requests
Date:                Monday, July 18, 2016 6:50:58 PM


Hi Ty,

 I represent Virginia Giuffre along with Sigrid. Sigrid has asked me to get back to you on your email to
set up a time for conferral and also to see if you (or another member of the team there) can also confer
with us us on several issues.

I see your topics for discussion. I will be glad to confer on those.

 I think it also would make sense to set up a simultaneous conferral on Ms. Maxwell's objections to Ms.
Giuffre's 2d set of requests for production and 1st set of interrogatories. We sent letters out on June 8
and June 13 requesting a conferral, and we haven't heard back from anyone there yet.

 I have been out of the office for four days and am leaving for New York on Wednesday for a five-day
trip through next Monday, July 25. Would it be convenient for you to set up a conferral on the issues you
have raised and the issues we have raised in our earlier letters on Tuesday, July 26 or Wednesday, July
27. I am open any time either of those two days.

Looking forward to conferring with you on all these issues next week.

Paul Cassell for Virginia Giuffre

Paul G. Cassell
Ronald N. Boyce Presidential Professor of Criminal Law
   and University Distinguished Professor of Law
S.J. Quinney College of Law at the University of Utah
332 S. 1400 E. , Room 101
Salt Lake City, UT 84112-0730
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cassellp@law.utah.edu
You can access my publications on http://ssrn.com/author=30160
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communication. If you have received this message in error, please immediately notify the sender by reply electronic mail and
delete the original message. Professor Cassell is admitted to the Utah State Bar, but not the bars of other states. Thank you.

From: Ty Gee [tgee@hmflaw.com]
Sent: Friday, July 15, 2016 9:48 PM
To: Bradley Edwards (brad@pathtojustice.com); Meredith Schultz; Paul Cassell; Sigrid S. McCawley
Cc: Laura Menninger; Jeff Pagliuca; Ann Lundberg; Nicole Simmons
Subject: Giuffre v Maxwell: Conferral re Defendant's Second Set of Discovery Requests

Sigrid:

I am a lawyer with Haddon, Morgan and Foreman, P.C., and counsel to the defendant
Ghislaine Maxwell. I’m writing you to schedule a meet and confer regarding plaintiff’s
responses to the defendant’s Second Set of Discovery Requests.

These are the topics for discussion:
     Case 1:15-cv-07433-LAP Document 1219-5 Filed 07/15/21 Page 3 of 6



Interrogatory Nos. 5-8, 13-14. Plaintiff’s responses to these interrogatories are
improper. Plaintiff interposed numerous objections, including boilerplate objections,
that are improper. Plaintiff’s answers are either non-responsive or only partially
responsive. As an example, it is an improper interrogatory response to direct defense
counsel to more than 7,500 pages of documents for the “answer” to the interrogatory.
As another example, the answers are evasive and/or incomplete.

Request for Admission Nos. 1-9, 12-13. Plaintiff’s responses are improper. Plaintiff’s
objections to No. 12 are improper. Plaintiff’s answers fail to comply with FRCP 36. For
example, the answers routinely fail to specify the part of the request that is admitted.
As another example, parts of the answers are nonresponsive. As another example,
the answers are evasive and/or incomplete.

Request for Production Nos. 1, 4, 9-12. Plaintiff’s responses are improper. Plaintiff’s
objections, including boilerplate objections, are improper. For example, a party may
not resist discovery by arguing that the requesting party has access to the document
through other persons. Some of the objections are evasive; others appear to
manufacture strawman “interpretations” of requests for the purpose of justifying
wholesale resistance to produce any responsive documents. Plaintiff’s claimed
ignorance of what constitutes a “statement” is an example.

Please provide me with your availability to discuss these matters. I am available on
July 18 12PM-5PM MDT and July 19 1PM-5PM MDT.

I look forward to speaking with you.


Ty Gee
Haddon, Morgan and Foreman, P.C.
150 East 10th Avenue
Denver, Colorado 80203
PH 303.831.7364 FX 303.832.2628

www.hmflaw.com
tgee@hmflaw.com
         Case 1:15-cv-07433-LAP Document 1219-5 Filed 07/15/21 Page 4 of 6


From:                Paul Cassell
To:                  Ty Gee; Bradley Edwards (brad@pathtojustice.com); Meredith Schultz; Sigrid McCawley
Cc:                  Laura Menninger; Jeff Pagliuca; Ann Lundberg; Nicole Simmons
Subject:             RE: Giuffre v Maxwell: Conferral re Defendant"s Second Set of Discovery Requests
Date:                Thursday, July 21, 2016 12:23:29 PM


Hi Ty,

That times works for Meredith and me.

 I understand that we will be discussing both our requests for information and your requests for
information, as indicated in my previous email. If you could confirm that, I would appreciate it.

Thanks and looking forward to working on these issues with you next week.

Paul Cassell for Ms. Giuffre

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   and University Distinguished Professor of Law
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From: Ty Gee [tgee@hmflaw.com]
Sent: Thursday, July 21, 2016 10:09 AM
To: Paul Cassell; Bradley Edwards (brad@pathtojustice.com); Meredith Schultz; Sigrid S. McCawley
Cc: Laura Menninger; Jeff Pagliuca; Ann Lundberg; Nicole Simmons
Subject: RE: Giuffre v Maxwell: Conferral re Defendant's Second Set of Discovery Requests

Thanks, Paul. Let’s do this on Tues July 26 at 1 PM MDT.

I’ll plan on calling you then at your phone number listed below.

Ty

From: Paul Cassell [mailto:cassellp@law.utah.edu]
Sent: Monday, July 18, 2016 4:51 PM
To: Ty Gee; Bradley Edwards (brad@pathtojustice.com); Meredith Schultz; Sigrid S. McCawley
Cc: Laura Menninger; Jeff Pagliuca; Ann Lundberg; Nicole Simmons
Subject: RE: Giuffre v Maxwell: Conferral re Defendant's Second Set of Discovery Requests

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     Case 1:15-cv-07433-LAP Document 1219-5 Filed 07/15/21 Page 6 of 6


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